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           EXHIBIT A
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                                                                          January 31, 2018


Via FedEx®

General Counsel                                     Managing Partner
Corcept Therapeutics, Inc.                          Kilpatrick Townsend & Stockton LLP
149 Commonwealth Drive                              1100 Peachtree Street NE
Menlo Park, California 94025                        Atlanta, Georgia 30309


HIGHLY CONFIDENTIAL


  Re: Notice of ANDA No. 211436
      Mifepristone Tablets, 300 mg, With Paragraph IV Certifications Concerning U.S.
      Patent Nos. 8,921,348 and 9,829,495

Dear Madam or Sir:

        Pursuant to § 505(j)(2)(B)(iv) of the Federal Food, Drug, and Cosmetic Act and 21
C.F.R. § 314.95, Teva Pharmaceuticals USA, Inc. ("Teva"), hereby provides the following notice
concerning U.S. Patent Nos. 8,921,348 ("the '348 patent") and 9,829,495 ("the '495 patent") to
Corcept Therapeutics, Inc. ("Corcept") as the apparent holder of approved New Drug
Application ("NDA") No. 202107 for KORLYM® (mifepristone) tablets 300 mg, according to
the records of the U.S. Food and Drug Administration ("FDA"), and as the record owner of U.S.
Patent Nos. 8,921,348 and 9,829,495 according to the records of the U.S . Patent and Trademark
Office ("USPTO").

       As a courtesy, Teva is also providing a copy of this Notice Letter and Detailed Statement
to Kilpatrick Townsend & Stockton LLP as correspondent for U.S. Patent Nos. 8,921,348 and
9,829,495.

               I.      Pursuant to 21 U.S.C. § 355(j)(2)(B)(iv)(I) and 21 C.F.R. § 314.95(c)(l)
and/or 314.95(d), Teva advises Corcept that FDA has received an Abbreviated New Drug
Application ("ANDA") from Teva for Mifepristone Tablets, 300 mg. The ANDA contains the
required bioavailability and/or bioequivalence data and/or bioequivalence waiver. The ANDA
was submitted under 21 U.S.C. § 355(j)(l) and (2)(A), and contains Paragraph IV certifications
to obtain approval to engage in the commercial manufacture, use or sale of Mifepristone Tablets,
300 mg, before the expiration of U.S . Patent Nos. 8,921 ,348 and 9,829,495 which are listed in
the Patent and Exclusivity Information Addendum of FDA's publication, Approved Drug
Products with Therapeutic Equivalence Evaluations (commonly known as the "Orange Book").




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              II.   Pursuant to 21 C.F.R. § 314.95(c)(2), we advise you that FDA has
assigned Actavis' ANDA the number 211436.

              III. Pursuant to 21 C.F.R. § 314.95(c)(3), Teva states that is has received a
Paragraph IV Acknowledgement Letter; ANDA Receipt for ANDA No. 211436 from the FDA.

                IV. Pursuant to 21 C.F.R. § 314.95(c)(4), the established name of the proposed
drug product is Mifepristone Tablets, 300 mg.

              IV.     Pursuant to 21 C.F.R. § 314.95(c)(5), the active ingredient, strength, and
dosage form of the proposed drug product are Mifepristone Tablets, 300 mg.

                V.      Pursuant to 21 C.F.R. § 314.95(c)(6), Teva advises Corcept that the
patents alleged to be invalid, unenforceable, and/or not infringed in the Paragraph IV
certifications are U.S. Patent Nos. 8,921,348 and 9,829,495 which are listed in the Orange Book
in connection with Corcept's approved NDA No. 202107 for KORLYM® (mifepristone) tablets
300 m. According to information published in the Orange Book, the patents will expire as
follows:

                        U.S. PATENT
                                                EXPIRATION DATE
                             NO.
                           8,921,348                August 27, 2028
                           9,829,495                August 15, 2036


               VI.     Pursuant to 21 U.S.C. § 355(j)(2)(B)(iv)(II) and 21 C.F.R.§ 314.95(c)(7),
attached to this letter is a detailed statement of the factual and legal bases for Teva USA's
opinion that U.S. Patent Nos. 8,921,348 and 9,829,495 are not valid, unenforceable, or will not
be infringed by the commercial manufacture, use, or sale ofTeva's product.

                VII. Pursuant to 21 U.S.C § 355(j)(5)(C)(i)(III) and 21 C.F.R.§ 314.95(c)(8),
attached to this notice letter is an Offer of Confidential Access to Application. As required by 21
U.S.C § 355(j)(5)(C)(i)(III), Teva offers to provide confidential access to certain information
from its ANDA No. 211436 for the sole and exclusive purpose of determining whether an
infringement action referred to in 21 U.S.C § 355(j)(5)(B)(iii) can be brought.

        21 U.S.C. § 355(j)(5)(C)(i)(III) allows Teva to impose restrictions "as to persons entitled
to access, and on the use and disposition of any information accessed, as would apply had a
protective order been entered for the purpose of protecting trade secrets and other confidential
business information." That provision also grants Teva the right to redact its ANDA in response
to a request for Confidential Access under this offer.

       By providing this Offer of Confidential Access to the ANDA, Teva maintains the right
and ability to bring and maintain a Declaratory Judgment action under 28 U.S.C. § 2201 et seq.,
pursuant to 21 U.S.C. § 355(j)(5)(C).
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Corcept Therapeutics, Inc.
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                                           Sincerely,




                                          Fahd Majiduddin, Ph.D., Esq.
                                          Patent Counsel - Associate Director
                                          Teva Pharmaceuticals USA, Inc.




Enclosures:   Teva Pharmaceuticals USA, Inc. 's Detailed Statement Of The Factual And Legal
              Bases That US. Patent Nos. 8,921,348 and 9,829,495 Are Invalid,
              Unenforceable, Or Not Infringed

              Offer Of Confidential Access Pursuant To 21 US.C. § 3550)(5)(C}(i)(III)
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             ABBREVIATED NEW DRUG APPLICATION NO. 211436
                   OFFER OF CONFIDENTIAL ACCESS
                 PURSUANT TO 21 U.S.C. § 355(j)(S)(C)(i)(III)

        WHEREAS Teva Pharmaceuticals USA, Inc. ("Teva USA") has provided notice
to Corcept Therapeutics, Inc. (hereinafter "Recipients") that Teva USA submitted to the
U.S. Food and Drug Administration ("FDA") an Abbreviated New Drug Application No.
211436 for Teva USA's proposed Mifepristone Tablets, 300 mg (hereinafter referred to
in whole or in part as the "ANDA"), containing Paragraph IV certifications with respect
to U.S. Patent Nos. 8,921,348 and 9,829,495 ("the patents"), which is listed in the FDA
Publication, "Approved Drug Products with Therapeutic Equivalence Evaluations"; and

       WHEREAS this document constitutes Teva USA's Offer of Confidential
Access to relevant portions of that ANDA pursuant to 21 U.S.C.
§ 355(j)(5)(C)(i)(III) which provides:

       The document providing the offer of confidential access shall contain such
       restrictions as to persons entitled to access, and on the use and disposition
       of any information accessed, as would apply had a protective order been
       entered for the purpose of protecting trade secrets and other confidential
       business information. A request for access to an application under an
       offer of confidential access shall be considered acceptance of the offer of
       confidential access with the restrictions as to persons entitled to access,
       and on the use and disposition of any information accessed, contained in
       the offer of confidential access, and those restrictions and other terms of
       the offer of confidential access shall be considered terms of an enforceable
       contract. Any person provided an offer of confidential access shall review
       the application for the sole and limited purpose of evaluating possible
       infringement of the patents that are the subject of the certifications under
       paragraph (2)(A)(vii)(IV) and for no other purpose, and may not disclose
       information of no relevance to any issue of patent infringement to any
       person other than a person provided an offer of confidential access.
       Further, the application may be redacted by the applicant to remove any
       information of no relevance to any issue of patent infringement.

        WHEREAS Teva USA offers to provide Recipients confidential access to
the relevant portions of the ANDA subject to restrictions as to persons entitled
access to, and on the use and disposition of, the ANDA; and

       WHEREAS this document accompanies Teva USA's Notice and Detailed
Statement under 21 U.S.C. § 355(j)(2)(B) with respect to the patents;

       NOW, THEREFORE, Teva USA makes this offer:

1.     Pursuant to 21 U.S.C. § 355(j)(5)(C)(i)(III), and subject to the restrictions recited
       in clause 2 below, Teva USA hereby provides Recipients this Offer of
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       Confidential Access for the sole purpose of determining whether to bring an
       action referred to in 21 U.S.C. § 355(j)(5)(B)(iii) with respect to the patents.

2.     The right of confidential access offered herein is subject to the following
       restrictions as to persons entitled to access, and the use and disposition of any
       infonnation accessed, pursuant to this Offer of Confidential Access:

       A.     Persons Entitled to Access: Persons entitled to access (hereinafter
              referred to as "Authorized Evaluators") under this Offer of Confidential
              Access are restricted to outside counsel from one law firm engaged by
              Recipients to represent Recipients and the staff of such outside counsel,
              including paralegal, secretarial, and clerical personnel who are engaged in
              assisting such counsel, provided that:

              (1) Such outside counsel have been identified to Teva USA in writing;

              (2) Such outside counsel do not engage, formally or infonnally, in any
                 patent prosecution, or any FDA counseling, litigation or other work
                 before or involving FDA;

              (3) Within 5 business days of receiving such written identification, Teva
                  USA has not objected, in writing, to provision of confidential access
                  to the identified outside counsel.

      B.      Materials Accessible by Authorized Evaluators: A copy of the ANDA,
              redacted to remove portions of no relevance to any issue of patent
              infringement, will be provided for use by Authorized Evaluators.
                                                       '
      C.      Use of the ANDA and Information in the ANDA:

              (1) Subject to paragraph 2(D)(2)(a), use of the ANDA, and all
                 information contained therein or derived therefrom, and all notes,
                 analyses, studies, or documents prepared by Authorized Evaluators to
                 the extent they reflect information contained in or derived from the
                 ANDA furnished herein, is for the sole and limited purpose of
                 evaluating possible infringement of the patents, and for no other
                 purpose.

             (2) Authorized Evaluators shall not disclose any information contained in
                 or derived from the ANDA or any notes, analyses, studies, or other
                 documents to the extent that they reflect any information contained in
                 or derived from the ANDA, to any person other than an Authorized
                 Evaluator.

             (3) Notwithstanding the provisions of subparagraphs 2(C)(l) and 2(C)(2)
                 above, Authorized Evaluators shall be permitted to advise Recipients
                 on whether or not to assert the patents, provided, however, that the



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           infonnation contained in or derived from the ANDA is not thereby
           disclosed.

  D.   Disposition of the Information in the ANDA:

       (1) If Recipients do not assert the patents against Teva USA within 45
          days of receipt of the Notice and Detailed Statement (the "45-day
          period"), which this offer accompanies, Authorized Evaluators shall,
          and Recipients shall direct and ensure that Authorized Evaluators,
          within 30 days after the expiration of the 45-day period, destroy or
          send to Teva USA the portions of the ANDA provided, and all notes,
          analyses, studies, or other documents prepared or received by
          Authorized Evaluators, to the extent that they reflect infonnation
          contained in or derived from the ANDA, and Recipients or Authorized
          Evaluators shall notify Teva USA that this has been done.

       (2) Recipients agree that if Recipients assert the patents against Teva
           USA within the 45-day period of receipt of the Notice and Detailed
           Statement, which this offer accompanies:

              (a) While the litigation is pending, the portions of the ANDA
                  provided and all notes, analyses, studies, or other documents
                  prepared or received by Authorized Evaluators, to the extent
                  that they reflect information contained in or derived from the
                  ANDA, shall be treated as information under the highest level
                  of confidentiality under any protective order entered in the
                  action brought against Teva USA. Until such a protective
                  order is entered, subsection 2(C)(2) above continues to apply.

              (b) Recipients shall direct and ensure that Authorized Evaluators
                  destroy the portions of the ANDA provided and all notes,
                  analyses, studies, or other documents prepared or received by
                  Authorized Evaluators, to the extent that they reflect
                  information contained in or derived from the ANDA, within
                  thirty (30) days after the final determination of the action
                  brought against Teva USA.

       (3) Notwithstanding the provisions of subparagraphs 2(D)(l) and 2(D)(2)
           above, the Authorized Evaluators identified in subparagraph 2(A)
           shall be permitted to retain one copy of the portions of the ANDA
           provided and each note, analysis, study, or other document prepared
           by Authorized Evaluators, to the extent that they reflect information in
           the ANDA.

 E.    Accidental Disclosure: Should information contained in or derived from
       the ANDA be disclosed, inadvertently or otherwise, Recipients shall, at
       Recipients' earliest opportunity, contact Teva USA and identify:



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              (1) What has been disclosed;

              (2) The individuals to whom such infonnation has been disclosed; and

              (3) Steps taken by Recipients and Authorized Evaluators to ensure the
                  information contained in or derived from the ANDA continues to be
                  treated pursuant to the tenns of this agreement and is not further
                  disseminated.

3.     Recipients and Authorized Evaluators recognize that violation of any provision of
       this Offer of Confidential Access will cause irreparable injury to Teva USA, and
       that an adequate legal remedy does not exist. Teva USA, therefore, shall have the
       right, in addition to any other remedies available at law or in equity, to obtain
       from a court of competent jurisdiction an injunction to prohibit Recipients and
       Authorized Evaluators from violating the terms of this Offer of Confidential
       Access. It is further agreed that in such an action Teva USA is entitled to recover
       any and all damages, costs and expenses, including, but not limited to, all
       reasonable attorneys' fees, professional fees, and court costs.

4.     Should any provision set forth in this Offer of Confidential Access be found by a
       court of competent jurisdiction to be illegal, unconstitutional, or otherwise
       unenforceable, the remaining provisions shall continue in full force and effect.

5.     Nothing contained herein shall be construed as a grant of any license or other
       right to use information contained in or derived from the ANDA, except for the
       purpose expressly stated herein.

6.    This Agreement shall be governed by the laws of the State of New Jersey, without
      giving effect to its conflicts oflaw or choice oflaw principles.

7.    Each of Recipients, Authorized Evaluators, and Teva USA, irrevocably submit to
      and accept, generally and unconditionally, the exclusive personal jurisdiction of
      the courts of the State of New Jersey, and of the U.S. District Court for the State
      of New Jersey, waives its right to assert any objection or defense based on venue
      or forum non conveniens, and agrees to be bound by any judgment rendered
      thereby arising under or in respect of this Agreement.

8.    When accepted by the parties hereto, this document shall constitute the entire
      agreement of the parties with respect to the subject matter herein, and may not be
      amended or modified except in writing executed by all of the parties.

9.    An Authorized Evaluator may request access to the ANDA by executing one copy
      of this Confidential Access Agreement where indicated and returning the
      executed copy within the 45-day period to:

                                  James Mahanna
             Senior Counsel, Associate General Counsel, US Generics IP
                         Teva Pharmaceuticals USA, Inc.


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                                200 Elmora A venue
                               Elizabeth, NJ 07202
                                   908.659.2510
                            jim.mahanna@actavis.com


Thereupon, the terms contained in this document shall be considered an enforceable
contract between Teva USA and the Recipients.




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TEVA Phannaceuticals USA, Inc.
By its authorized agent:


[Lawyer's Name]
[Firm Name if applicable]

Date: [Date]



Recipients
By their authorized agent(s):

Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __

Name (Print): _ __ _ __ _ _ __ __ _

Title: _ _ _ __ _ __ _ _ __ _ _ __ _

Company: _ _ _ _ _ _ _ _ _ _ _ _ _ __

Date: _ __ _ __ _ _ __ _ __ _ _ __




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                                           Enclosure

    Teva Pharmaceuticals USA, Inc.'s Detailed Factual and Legal Basis for Its Paragraph IV
     Certification that U.S. Patent Nos. 8,921,348 and 9,829,495 Are Invalid, Unenforceable
     and/or Not Infringed by the Mifepristone Tablets, 300 mg Product Described in Teva
                         Pharmaceuticals USA, Inc.'s ANDA No. 211436

I.       INTRODUCTION

       This document is the detailed factual and legal basis ("Detailed Statement") for Teva
Pharmaceuticals USA, Inc. 's {"Teva") certification that, in its opinion and to the best of its
knowledge, U.S. Patent Nos. 8,921,348 (hereinafter "the ' 348 patent") and 9,829,495 ("the '495
Patent") are invalid, unenforceable, and/or will not be infringed by the commercial manufacture,
use, or sale of the drug products described in Teva's ANDA. The right to raise additional
noninfringement, invalidity, and unenforceability defenses is expressly reserved.

II.      TEVA'S ANDA PRODUCT

        Teva's ANDA Product consists of Mifepristone as the active pharmaceutical ingredient
in tablets, 300 mg. The proposed labeling submitted as part of Teva's ANDA is identical in all
relevant respects to the labeling for KORLYM®.

        The composition of Teva's ANDA Product may be disclosed pursuant to the terms set
forth in the Offer of Confidential Access indicated in Teva's Notice Letter.

III.     THE ORANGE BOOK LISTED PATENTS

                           U.S.PATENT
                                               EXPIRATION DATE
                               NO.
                            8,921,348              August 27, 2028
                            9,829,495              August 15, 2036

IV.      LEGAL PRINCIPLES

         A.     Validity

        The invalidity discussion below sets forth the basic legal principles considered for this
detailed statement. Although an issued United States patent carries a presumption of validity, an
accused infringer may succeed in showing that an issued patent is invalid by providing clear and
convincing evidence of invalidity. 1 Any one of several reasons may invalidate a patent. These

1
 A court gives due weight to a patent's presumed validity under 35 U.S.C.S. § 282, requiring an
accused infringer to prove invalidity by clear and convincing evidence. Perricone v. Medicis
Pharm. Corp., 432 F.3d 1368 (Fed. Cir. 2005).
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include lack of novelty, a statutory bar to patentability, obviousness, or lack of adequate
disclosure. For example, an issued patent may be found invalid for failing to comply with one or
more statutory requirements enumerated under 35 U.S.C. §§ 101, 102, 103, or 112.

                1. Claim Construction

        A proper determination of validity requires a determination of the scope of the claim
elements. The same claim construction governs for validity determinations as for infringement
determinations. Door-Master Corp. v. Yorktowne, Inc., 256 F.3d 1308, 1312 (Fed. Cir. 2001).
"Courts have the power and obligation to construe as a matter of law the meaning of language used
in patent claims." Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995).

         Claim construction begins with an inquiry into the plain and ordinary meaning of the
claim terms, which define the scope of the right to exclude. See SkinMedica, Inc. v. Histogen
Inc., 727 F.3d 1187, 1195 (Fed. Cir. 2013)(citing Phillips v. AWH Corp., 415 F.3d 1303, 1312-
13 (Fed. Cir. 2005))(recognizing the ordinary meaning of a claim term as providing "an objective
baseline from which to begin claim interpretation"). "When construing patent claims, there is a
heavy presumption that the language in the claim carries its ordinary and customary meaning
amongst artisans of ordinary skill in the relevant art at the time of the invention." See Biogen
Idec, Inc. v. GlaxoSmithKline LLC, 713 F.3d 1090, 1095 (Fed. Cir. 2013); see also Housey
Pharm., Inc. v. Astrazeneca UK Ltd., 366 F.3d 1348, 1352 (Fed. Cir. 2004) (citations and
internal quotation marks omitted).

        In construing the meaning of claim terms, a court may consider intrinsic evidence, the
claims themselves, the specification, and the prosecution history, and extrinsic evidence, i.e.,
dictionaries, treatises, expert testimony. Vitronics Corp. v. Conceptronics, Inc., 39 USPQ2d
1573 (Fed. Cir. 1996); Markman v. Westview Instruments, 38 USPQ2d 1461, 1463 (S. Ct. 1996);
and Regents of the University of California v. Eli Lilly & Co., 43 USPQ2d 1398, 1409 (Fed. Cir.
1997). The claims, the specification, and, to a lesser degree, the prosecution history, are the
primary focus of claim construction, while extrinsic evidence may only be used to construe a
claim if the extrinsic evidence "does not contradict any definition found in or ascertained by a
reading of the patent documents." Phillips v. AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir. 2005).
The Supreme Court has held that a district court's analysis of the intrinsic evidence and its
ultimate determination as to the proper meaning of the claim are reviewed de novo, while its fact
findings regarding extrinsic evidence are given deference and reviewed for clear error. Teva
Pharm. USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831 (2015).

        Generally, patent claims, " ... are to receive a liberal construction, and under the fair
application of the rule, ut res magis valeat quam pereat, are, if practicable, to be so interpreted as
to uphold and not to destroy the right of the inventor." Turrill v. Mich. S. & N Ind. R. R., 68
U.S. 491, 510 (1863). However, there are limits to liberal claim construction. For example,
claims may be considered broad "to the point of invalidity" if the properly constructed claim
scope includes significant numbers of inoperative embodiments. See, e.g., Graver Tank & Mfg.
Co. v. Linde Air Products Co., 336 U.S. 271, 276-77 (1949).

       Conversely, claim language should not be limited simply to render the claim valid:
                                                      2
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               "If the only claim construction that is consistent with the claim's
               language and the written description renders the claim invalid, then
               the axiom does not apply and the claim is simply invalid." In cases
               where the patent claims are substantially overreaching, it would be
               inappropriate for the construing court to rewrite the claims to
               preserve validity. Thus it is not proper for the court to put the
               validity cart before the claim construction horse."

Rhine v. Casio, Inc., 183 F.3d 1342, 1345 (Fed. Cir. 1999). See also, Nazomi
Communs., Inc. v. Arm Holdings, PLC, 403 F.3d 1364, 1369 (Fed. Cir. 2005).

        Further, where the patent specification makes clear that prior art techniques are not part
of the invention, a claim construction that excludes such techniques is correct. Phillips v. A WH
Corp., 415 F.3d 1303, 1319 (Fed. Cir. 2005).

               2. Anticipation

        The various paragraphs of 35 U.S.C. § 102 set forth the conditions that preclude an
applicant from receiving a patent for lack of novelty, and define what information or events are
deemed "prior art" against a particular invention. Section 102(a) bars patentability of an
invention if it was "known or used by others in this country, or patented or described in a printed
publication in this or a foreign country, before the invention thereof by the applicant for a
patent." 35 U.S.C. § 102(a). The statute also bars patentability if the invention was "patented or
described in a printed publication in this or a foreign country ... more than one year prior to the
date of the application for patent in the United States." 35 U.S.C. § 102(b). "In order to qualify
as a printed publication within the meaning of § 102, a reference must have been sufficiently
accessible to the public interested in the art." In re Lister, 583 F.3d 1307, 1311 (Fed. Cir. 2009)
(internal citation and quotation marks omitted). A reference is considered publicly accessible if it
was "disseminated or otherwise made available to the extent that persons interested and
ordinarily skilled in the subject matter or art exercising reasonable diligence, can locate it."
Kyocera Wireless Corp. v. Int'! Trade Comm 'n, 545 F.3d 1340, 1350 (2008) (internal citation
and quotation marks omitted).

 "Under 35 U.S.C. § 102, a claim is anticipated if each and every limitation is found either
expressly or inherently in a single prior art reference." See King Pharm., Inc. v. Eon Labs., Inc.,
616 F.3d 1267, 1274 (Fed. Cir. 2010) (internal citation and quotation marks omitted); see also
ClearValue, Inc. v. Pearl River Polymers, Inc., 668 F.3d 1340, 1344 (Fed. Cir. 2012). While the
anticipating reference must be enabling, Am. Ca/car, Inc. v. Am. Honda Motor Co., 651 F.3d
1318, 1341 (Fed. Cir. 2011 ), additional references and extrinsic evidence can be used to show
the reference contains an enabled disclosure. In re Donohue, 766 F .2d 531, 534 (Fed. Cir. 1985);
In re Samour, 571 F.2d 559, 562 (C.C.P.A. 1978) ("[T]he disclosure ... must be considered
together with the knowledge of one of ordinary skill in the pertinent art."). Additional references
or other evidence also can be used to show meaning of a term used in the primary reference. In
re Baxter Travenol Labs., 952 F.2d 388,390 (Fed. Cir. 1991).


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        The classic test for anticipation is often stated in terms of an infringement analysis,
namely, "[t]hat which would literally infringe if later in time anticipates if earlier than the date of
invention." Ecolab, Inc. v. FMC Corp., 569 F.3d 1335, 1348 (Fed. Cir. 2009) (quoting Lewmar
Marine, Inc. v. Barient, Inc., 827 F.2d 744, 747 (Fed. Cir. 1987), cert. denied, 484 U.S. 1007
(1988)). Thus, a reference may be relied upon for all that it would have reasonably suggested to
one having ordinary skill in the art, including non-preferred embodiments. Celeritas Techs. Ltd.
v. Rockwell Int'! Corp., 150 F.3d 1354, 1361 (Fed. Cir. 1998) (holding that the prior art
anticipated the claims even though it taught away from the claimed invention); Merck & Co. v.
Biocraft Labs., 874 F.2d 804 (Fed. Cir. 1989), cert. denied, 493 U.S. 975 (1989); ArcelorMittal
France v. AK Steel C01p., 700 F.3d 1314, 1322 (Fed. Cir. 2012).

        "Moreover, a prior art reference may anticipate without disclosing a feature of the
 claimed invention if that missing characteristic is necessarily present, or inherent, in the single
anticipating reference." Schering Corp. v. Geneva Pharm., Inc., 339 F.3d 1373, 1377 (Fed. Cir.
2003) (citation omitted); see also Allergan, Inc. v. Apotex Inc., 754 F.3d 952, 958 (Fed. Cir.
2014). The Federal Circuit has explained that the standard of certainty required for inherent
anticipation is not whether a party can prove by clear and convincing evidence that the claimed
invention existed in the prior art as an absolute certainty, but rather "merely that the disclosure is
sufficient to show that the natural results flowing from the operation as taught would result in the
claimed product." SmithKline Beecham Corp. v. Apotex Corp., 403 F.3d 1331, 1343 (Fed. Cir.
2005) (internal citation and quotation marks omitted). Additional references or evidence can be
used to show that a person of ordinary skill in the art would recognize the inherent characteristic
of the thing taught by the primary reference. E.g., Teleflex, Inc., 299 F.3d at 1335 (recognizing
that courts permit "the use of additional references to confirm the contents of the allegedly
anticipating reference"); Cont 'l Can Co. USA v. Monsanto Co., 948 F.2d 1264, 1268 (Fed. Cir.
1991); Scripps Clinic & Res. Found. v. Genentech, Inc., 927 F.2d 1565, 1576 (Fed. Cir. 1991)
overruled on other grounds by Abbott Labs. v. Sandoz, Inc., 566 F.3d 1282, 1293 (Fed. Cir.
2009), cert. denied, 558 U.S. 1136 (2010) {"The role of extrinsic evidence is to educate the
decision-maker to what the reference meant to persons of ordinary skill in the field of the
invention, not to fill gaps in the reference."). Inherent anticipation, however, "does not require a
person of ordinary skill in the art to recognize the inherent disclosure in the prior art at the time
the prior art is created." SmithKline Beecham, 403 F.3d at 1343; see also Abbott Labs. v. Baxter
Pharm. Prods., Inc., 471 F.3d 1363, 1367 (Fed. Cir. 2006) ("[A] reference may anticipate even
when the relevant properties of the thing disclosed were not appreciated at the time.").

               3. Obviousness

       A claim may be shown to be obvious in view of the prior art. Although the ultimate
determination of obviousness under § 103 is a question of law, the evaluation is based on several
underlying factual factors, often referred to as "the Graham factors," including: "(1) the scope
and content of the prior art; (2) the level of ordinary skill in the pertinent art; (3) the differences
between the claimed invention and the prior art; and (4) evidence of secondary factors, such as
commercial success, long-felt need, and the failure of others."

        Often invalidity is also established in view of the elements for establishing a prima facie
case of obviousness. A showing of statutory obviousness generally has three requirements:
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          1.      A combination of two or more prior art references must teach or suggest
                  all claim limitations of the rejected claim(s). 2 ' 3, 4

          2.     There must be some suggestion or motivation, either in the references
                 themselves or in the knowledge generally available to one of ordinary skill
                 in the art, to modify the reference or to combine the reference teachings. 5

          3.     One of ordinary skill in the art must have a reasonable expectation of
                 success in combining the references. 6' 7

As mentioned above, "[i]n making the assessment of differences between the prior art and the
claimed subject matter, § 103 specifically requires consideration of the claimed invention "as a
whole." The reason for this is that virtually all inventions are combinations of old elements and
it is almost always possible to deconstruct the invention into all of its individual elements. Envtl.
Designs, Ltd. v. Union Oil Co., 713 F.2d 693, 698 (Fed. Cir. 1983). The aforementioned rule is
further supported by the recent decision in KSR. KSR Int'/ Co. v. Teleflex Inc., 127 S. Ct. 1727,
1741 (U.S. 2007).

                 "[A] patent composed of several elements is not proved obvious
                 merely by demonstrating that each of its elements was,
                 independently, known in the prior art. Although common sense
                 directs one to look with care at a patent application that claims as
                 innovation the combination of two known devices according to
                 their established functions, it can be important to identify a reason
                 that would have prompted a person of ordinary skill in the relevant
                 field to combine the elements in the way the claimed new
                 invention does. This is so because inventions in most, if not all,
                 instances rely upon building blocks long since uncovered, and
                 claimed discoveries almost of necessity will be combinations of
                 what, in some sense, is already known."


2
  A reference that "covers the steps" between what was disclosed in the prior art and what is
claimed in a patent supports a finding of obviousness.
3
 Where a problem is within the knowledge of one of ordinary skill in the art, it is irrelevant for
purposes of determining obviousness that the relevant prior art does not disclose the problem.
Cross Medical Products, Inc. v. Medtronic Sofamor Danek Inc. and Medtronic Sofamor Danek
USA, Inc., 424 F.3d 1293, 1323 (Fed. Cir. 2005).
4
    In re Royka, 490 F.2d 981(CCPA 1974).
5
    In re Fine, 837 F.2d 1071, 1074 (Fed. Cir. 1988).
6
  The expectation of success must be found in the prior art, and not in the patent specification at
issue.
7
    In re Vaeck, 947 F.2d 488,490 (Fed. Cir. 1991).
                                                        5
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Id. at 1741.

       The KSR decision indicates that pressure to solve a known problem, the presence of a
limited number of predictable solutions, and anticipated success are all relevant factors in
determining whether an invention is obvious. The inquiry may be referred to as the "common
sense" standard, and is described below.

               "When there is a design need or market pressure to solve a
               problem and there are a finite number of identified, predictable
               solutions, a person of ordinary skill has good reason to pursue the
               known options within his or her technical grasp. If this leads to the
               anticipated success, it is likely the product not of innovation but of
               ordinary skill and common sense. In that instance the fact that a
               combination was obvious to try might show that it was obvious
               under § 103. . . . Rigid preventative rules that deny fact finders
               recourse to common sense, however, are neither necessary under
               our case law nor consistent with it."

Id. at 1743.

         The common sense standard provides that the motivation to combine references may be
present in the nature of the problem to be solved or known by one of skill in the art.
Nevertheless, the proper legal frame of reference for any obviousness inquiry is to assess the
invention "as a whole" to prevent evaluation of the invention part by part. Without this
important requirement, an obviousness assessment might successfully break an invention into its
component parts, then find a prior art reference corresponding to each component. Further, this
improper method would discount the value of combining various existing features or principles
in a new way to achieve a new result-often the essence of invention." Princeton Biochemicals,
Inc. v. Beckman Coulter, Inc., 411 F.3d 1332, 1337 (Fed. Cir. 2005).

               a. Secondary Considerations of Non-Obviousness

        It is well established that evidence of secondary indicia of nonobviousness may be
asserted to overcome a prima facie case of obviousness. The Supreme Court has instructed that
while evidence of secondary considerations can tip the balance into finding that an invention is
not obvious, the secondary considerations cannot of themselves trump a clear showing that the
invention is obvious. In Dow Chemical Co. v. Halliburton Oil Well Cementing Co., 324 U.S.
320, 330 (1945), the Supreme Court held that "[secondary] considerations are relevant only in a
close case where all other proof leaves the question of invention in doubt. Here the lack of
invention is beyond doubt and cannot be outweighed by such factors [of long felt need and
commercial success]." Id.

         The Federal Circuit has provided similar holdings, finding that the presence of secondary
considerations, such as surprising/unexpected results and commercial success, even if
established, may not be sufficient to overcome a strong case of prima facie obviousness. In
Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1372 (Fed. Cir. 2007), the Federal Circuit rejected the

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patentee's evidence of unexpected results, but noting that even if the results were unexpected,
that showing would not trump the clear case of obviousness- "[W]e hold that even if Pfizer
showed that amlodipine besylate exhibits unexpectedly superior results, this secondary
consideration does not overcome the strong showing of obviousness in this case. Although
secondary considerations must be taken into account, they do not necessarily control the
obviousness conclusion. Here, the record establishes such a strong case of obviousness that
Pfizer's alleged unexpectedly superior results are ultimately insufficient." Id.

        In Allergan, Inc. v. Sandoz Inc., 106 U.S.P.Q.2d 1574, 2013 WL 1810852, *7 (Fed. Cir.
2013), the Federal Circuit reversed a finding of validity, and ruled that claims directed to a
composition comprising about 0.2% timolol and about 0.5% brimonidine as the sole active
agents, and used to treat glaucoma in a twice-a-day application to improve patient compliance,
were invalid where the prior taught the use of the two constituents in a serial application. The
Federal Circuit found that, while the twice-a-day application was an unexpected result, it was not
sufficient to overcome the conclusion of obviousness based on the prior art. The Court explained
that there was extensive evidence in the prior art showing the concomitant administration of
brimonidine and timolol multiple times per day, that the combination had benefits over the
administration of either alone, and that there was a motivation to combine the two to achieve
better patient compliance. In view of this, the Federal Circuit concluded that regardless of
whether the combination also solved problems associated with the afternoon trough, the
motivation to make the combination was real, and held that the claims of the patent at issue were
invalid as obvious.

        Further, in Richardson-Vicks Inc. v. Upjohn Co., 122 F.3d 1476, 1484 (Fed. Cir. 1997),
the Federal Circuit held a patent invalid as obvious where the patent was directed to a
composition and method of use claims that combined a dose of ibuprofen and pseudoephedrine
into a single tablet with a specific ratio range. Prior to the invention, doctors routinely prescribed
these drugs simultaneously but in separate tablets, and other prior art tablets existed containing
the combination of an analgesic with pseudoephedrine. Therefore, despite evidence of
unexpected results that the combination into a single tablet produced an unexpected synergy, and
the commercial embodiment enjoyed commercial success, the Federal Circuit held that these
secondary considerations did not overcome the strong showing of obviousness based on the prior
art.

       B.      Infringement

       To literally infringe a United States Letters Patent, an accused product or process must
meet each and every limitation of the patent claim exactly, including any functional limitations.
See Corning Glass Works v. Sumitomo Elec. U.S.A., Inc., 868 F.2d 1251, 1258 (Fed. Cir. 1989).
Any deviation from the claim precludes a finding of literal infringement. See, e.g., Cole v.
Kimberly-Clark Corp., 102 F.3d 524,532 (Fed. Cir. 1996).

       An analysis of literal infringement requires two inquiries: first, the claims must be
construed to resolve their proper scope and meaning; and second, it must be determined whether
the accused product or process falls exactly within the scope of the properly construed claims.
See Markman, 52 F.3d at 976; see also Novo Nordisk ofN Am., Inc. v. Genentech, Inc., 77 F.3d
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1364, 1368 (Fed. Cir. 1996). The first inquiry is a legal question for the court; the second
inquiry is a factual detennination for the fact-finder. See Markman, 52 F.3d at 976- 80.

         Infringement may also be found under the doctrine of equivalents if the accused product
or method includes features that are equivalent to each claimed element. Warner-Jenkinson Co.,
Inc. v. Hilton Davis Chem. Co., 520 U.S. 17, 21, 40 (1997). The detennination of equivalency,
which is evaluated as of the time of infringement, is an objective inquiry applied on an element-
by-element basis taking into account the role of each claim element in the context of the claim.
Id. at 29, 40.

        The Supreme Court has not mandated any specific approach to evaluate equivalency. Id.
at 39-40. Among the recognized approaches that may be applied include the function-way-result
test and the insubstantial differences test. Id. at 25, 36, 39-40.

        There are a number of limitations on the application of the doctrine of equivalents. For
example, the doctrine of equivalents cannot be applied so as to effectively eliminate a claim
limitation in its entirety. Id. at 29. Further, limitations may not be afforded a scope of
equivalency that effectively results in a claim that does not patentably distinguish the prior art.
See, e.g., Wilson Sporting Goods Co. v. David Geoffrey & Assocs., 904 F.2d 677, 683 (Fed. Cir.
1990), overruled on other grounds by Cardinal Chem. Co. v. Morton Int '!, 508 U.S. 83 (1993).
Additionally, prosecution history estoppel operates to prevent recapture, through the doctrine of
equivalents, of coverage of subject matter that was relinquished by amendment or argument
during prosecution. Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., Ltd., 535 U.S . 722,
733-34 (2002).

        Although the sale of an apparatus to perform a patented method or process is not a direct
infringement of a method or process claim, such a sale may nevertheless constitute an active
inducement of infringement under 35 U.S.C. § 271(b) and/or a contributory infringement under
35 U.S.C. § 271(c). See Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 774 (Fed. Cir. 1993).
"Liability for either active inducement of infringement or for contributory infringement is
dependent upon the existence of direct infringement." Id.; see also C.R. Bard, Inc. v. Advanced
Cardiovascular Sys., Inc., 911 F.2d 670, 673 (Fed. Cir. 1990).

        Inducement of infringement is actively and knowingly aiding and abetting another's
direct infringement of a patent claim. See id. at 675; DSU Med. Corp. v. JMS Co., Ltd., 471 F.3d
1293, 1306 (Fed. Cir. 2006). In order to find induced infringement, a patentee must show (i)
direct infringement, either literally or under the doctrine of equivalents, (ii) that the alleged
indirect infringer actually intended to cause another to directly infringe, (iii) that the alleged
indirect infringer knew of the allegedly infringed patents, and (iv) that the alleged indirect
infringer knew or should have known that its actions would lead to actual infringement. See 35
U.S.C. § 271(b) (2011); see also, Commit USA, LLC v. Cisco Systems, Inc., No. 13-896 (S. Ct. ,
May 26, 2015); DSU Med. Corp., 471 F.3d at 1304-05.

        Contributory infringement is knowingly making and/or selling a product for use in
practicing a patented method or process, when that product is specifically designed for use in


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infringement of the patented method or process and has no substantial non-infringing uses. See
Preemption Devices, Inc. v. Minn. Mining & Mfg. Co., 803 F.2d 1170, 1174 (Fed. Cir. 1986).

        Finally, "an invalid patent cannot be infringed, or that someone cannot be induced to
infringe an invalid patent, is in one sense a simple truth, both as a matter oflogic and semantics."
Commit USA, LLCv. Cisco Systems, Inc., 135 S. Ct. 1920, 1929 (2015) (citing M Swift & Sons,
Inc. v. W.H Coe Mfg. Co., 102 F.2d 391, 396 (C.A.l 1939). In other words, "if at the end of the
day, an act that would have been an infringement or an inducement to infringe pertains to a
patent that is shown to be invalid, there is no patent to be infringed." Id.

V.     FACTUAL AND LEGAL BASIS FOR TEVA'S CERTIFICATION FOR U.S. PATENT No.
       8,921,348

       A.      U.S. Patent No. 8,921,348- "Optimizing mifepristone levels in plasma serum
               of patients suffering from mental disorders treatable with glucocorticoid
               receptor antagonists"

       The '348 patent, entitled "Optimizing Mifepristone Levels in Plasma Serum of Patients
Suffering From Mental Disorders Treatable With Glucocorticoid Receptor Antagonists," issued
on December 30, 2014, from Application Serial No. 14/065,792 ("the '792 application"), filed on
October 29, 2013, which is a continuation of Application Serial No. 12/199,114 ("the '114
application"), filed on August 27, 2008, now U.S. Patent No. 8,598,149 ("the '149 patent"),
which claims the benefit of U.S. Provisional Application Serial No. 60/969,027, filed on August
30, 2007.

       The '348 patent issued with 7 claims, with claim 1 being the sole independent claims

       The claims of the '348 patent recite:

       1. A method for optimizing levels of mifepristone in a patient suffering from a
       disorder amenable to treatment by mifepristone, the method comprising: treating
       the patient with seven or more daily doses of mifepristone over a period of seven
       or more days; testing the serum levels of the patient to determine whether the
       blood levels of mifepristone are greater than 1300 ng/mL; and adjusting the daily
       dose of the patient to achieve mifepristone blood levels greater than 1300 ng/mL.

       2. The method of claim 1, wherein the disorder is a member selected from the
       group consisting of a stress disorder, delirium, mild cognitive impairment (MCI),
       dementia, psychosis and psychotic major depression.

       3. The method of claim 2, wherein the stress disorder is a member selected from
       the group consisting of Acute Stress Disorder, Post-Traumatic Stress Disorder and
       Brief Psychotic Disorder with Marked Stressor(s).

       4. The method of claim 1, wherein each of the seven or more daily doses of
       mifepristone are administered orally.
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        5. The method of claim 1, wherein the patient is treated with 28 or more daily
        doses over a period of 28 or more days.

        6. The method of claim 1, wherein the testing is performed by a plasma sampling
        collection device suitable for detecting mifepristone serum levels.

        7. The method of claim 1, wherein the adjusting step comprises increasing the
        daily dose of the patient to achieve mifepristone blood levels greater than 1300
        ng/mL.

        B.     Claim Construction

       For the purposes of this Detailed Statement only, the claims of the '348 patent are to be
accorded their ordinary and customary meanings to one of ordinary skill in the art as informed by
the specification and prosecution history.

        C.     Non-Infringement Analysis
               1.      Claims 1 through 7 of the '348 Patent are Not Infringed
       Teva's ANDA Product will not, infringe the claims of the '348 patent, either literally or
under the doctrine of equivalents.
               2.      Independent Claim 1
                       a)     No Direct Infringement

        Teva's ANDA Product will not directly infringe independent claim 1 of the '348 patent.
An accused product or process literally infringes a claim only if it possesses each and every
limitation of the claim. If an accused product or process lacks even one claim element, it does
not literally infringe the claim. Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc., 424
F.3d 1293, 1310 (Fed. Cir. 2005). Teva's ANDA Product will not directly infringe independent
claim 1 of the '348 patent because claim 1 requires "treating a patient" and Teva through its
ANDA will not be treating patients. Teva's ANDA Product will not directly infringe
independent claim 1 of the '348 patent for the additional reason that claim 1 requires "testing the
serum levels of the patient to determine whether the blood levels of mifepristone are greater than
1300 ng/mL" and Teva through its ANDA will not test the serum levels of mifepristone in
patients. Because Teva will not treat patients and does not test the serum levels of mifepristone
in patients, Teva' s ANDA Product will not literally infringe independent claim 1 of the ' 348
patent.

        Furthermore, because Teva through its ANDA will not treat patients and will not test the
serum levels of mifepristone in patients, Teva through its ANDA will not infringe independent
claim 1 of the '348 patent under the doctrine of equivalents. The doctrine of equivalents does
not allow a claim limitation to be ignored. Pennwalt Corp. v. Durand-Wayland, Inc., 833 F.2d
931, 935 (Fed. Cir. 1987); see also Novartis Pharms. Corp. v. Eon Labs Mfg., Inc., 363 F.3d
1306, 1312 (Fed. Cir. 2004). Because Teva through its ANDA will not treat patients and will not
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test the serum levels of mifepristone in patients, Teva will not, directly infringe independent
claim 1 of the '348 patent, either literally or under the doctrine of equivalents.

                       b)              No Inducement of Infringement

        The proposed labeling for Teva's ANDA Product will not induce infringement of
independent claim 1 of the '348 patent. As discussed above, claim 1 requires "testing the serum
levels of the patient to detennine whether the blood levels of mifepristone are greater than 1300
ng/mL." Claim 1 further requires "adjusting the daily dose of the patient to achieve mifepristone
blood levels greater than 1300 ng/mL." The labeling for Teva's ANDA Products (like the
labeling for Korlym®), however, does not include any instructions directing a person to test (i.e. ,
determine (see the '348 patent at col. 6, lines 3-6)) the serum levels of the patient to detennine
the blood levels of mifepristone, much less to determine if the blood levels of mifepristone are
greater than 1300 ng/mL and to adjust the daily dose of the patient to achieve mifepristone blood
levels greater than 1300 ng/mL. Rather, the proposed labeling for Teva's ANDA Product simply
instructs that mifepristone is administered at a starting dose of 300 mg, orally, once daily and can
be increased. Specifically, the labeling for Korlym® states:

       1 INDICATIONS AND USAGE
       KORLYM (mifepristone) is a cortisol receptor blocker indicated to control
       hyperglycemia secondary to hypercortisolism in adult patients with endogenous
       Cushing's syndrome who have type 2 diabetes mellitus or glucose intolerance and
       have failed surgery or are not candidates for surgery.
       LIMITATIONS OF USE:
       • KORLYM should not be used in the treatment of patients with type 2 diabetes
       unless it is secondary to Cushing's syndrome.
       2 DOSAGE AND ADMINISTRATION
       2.1 Adult Dosage
       The recommended starting dose is 300 mg orally once daily. KORLYM must be
       given as a single daily dose. KORLYM should always be taken with a meal.
       Patients should swallow the tablet whole. Do not split, crush, or chew tablets.
       Dosing and titration
       The daily dose of KORLYM may be increased in 300 mg increments. The dose
       of KORLYM may be increased to a maximum of 1200 mg once daily but should
       not exceed 20 mg/kg per day. Increases in dose should not occur more frequently
       than once every 2-4 weeks. Decisions about dose increases should be based on a
       clinical assessment of tolerability and degree of improvement in Cushing's
       syndrome manifestations. Changes in glucose control, anti-diabetic medication
       requirements, insulin levels, and psychiatric symptoms may provide an early
       assessment of response (within 6 weeks) and may help guide early dose titration.
       Improvements in cushingoid appearance, acne, hirsutism, striae, and body weight
       occur over a longer period of time and, along with measures of glucose control,

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        may be used to detennine dose changes beyond the first 2 months of therapy.
        Careful and gradual titration of KORLYM accompanied by monitoring for
        recognized adverse reactions (See Warnings and Precautions 5.1 and 5.2) may
        reduce the risk of severe adverse reactions. Dose reduction or even dose
        discontinuation may be needed in some clinical situations. If KORLYM
        treatment is interrupted, it should be reinitiated at the lowest dose (300 mg). If
        treatment was interrupted because of adverse reactions, the titration should aim
        for a dose lower than the one that resulted in treatment interruption.

(Korlym® Prescribing lnfonnation at page 2).

        Labeling that merely directs a person to administer mifepristone to "control
hyperglycemia secondary to hypercortisolism in adult patients with endogenous Cushing's
syndrome who have type 2 diabetes mellitus or glucose intolerance and have failed surgery or
are not candidates for surgery" at a starting does of 300 mg once daily that can be titrated to
1200 mg once daily with no instructions to "test[] the serum levels of the patient to determine
whether the blood levels of mifepristone are greater than 1300 ng/mL [or to] adjust[] the daily
dose of the patient to achieve mifepristone blood levels greater than 1300 ng/mL" does not
induce infringement of a method claim that requires testing the serum levels. See Warner-
Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1364 (Fed. Cir. 2003); Allergan, Inc. v. Alcon
Laboratories, Inc., 324 F.3d 1322 (Fed.Cir.2003); and Bayer Schering Pharma AG v. Lupin,
Ltd., 676 F.3d 1316 (Fed. Cir. 2012). Indeed, the labeling states that "[d]ecisions about dose
increases should be based on a clinical assessment of tolerability and degree of improvement in
Cushing's syndrome manifestations" (Korlym® Prescribing Infonnation at page 2, emphasis
added), rather than mifepristone blood levels.

        The proposed labeling for Teva's ANDA Product will also not induce infringement of
dependent claims 2 and 3 of the '348 patent for the additional reason that the proposed labeling
for Teva's ANDA Product does not direct a person to administer mifepristone to treat "stress
disorder, delirium, mild cognitive impairment (MCI), dementia, psychosis and psychotic major
depression." The proposed labeling does not include any instructions that mifepristone should be
administered to treat any of these conditions. Rather, as discussed above, the only indication that
will be included in the proposed labeling for Teva's ANDA Product will be the same as the
indication included in the labeling for KORLYM®. Labeling that merely directs a person to
administer mifepristone to "control hyperglycemia secondary to hypercortisolism in adult
patients with endogenous Cushing's syndrome who have type 2 diabetes mellitus or glucose
intolerance and have failed surgery or are not candidates for surgery" does not induce
infringement of a method claim that requires treating stress disorder, delirium, mild cognitive
impairment (MCI), dementia, psychosis or psychotic major depression. See Warner-Lambert
Co., 316 F.3d at 1364; Allergan, Inc., 324 F.3d at 1322; and Bayer Schering, 676 F.3d at 1316.

        Accordingly, the proposed labeling for Teva's ANDA Product will not induce
infringement of independent claim 1 and dependent claims 2 and 3 of the '348 patent.




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                        c)             No Contributory Infringement

        Further, the Teva would not be liable for contributory infringement of the claims of the
'348 patent because Teva's ANDA Product would be a staple article of commerce clearly
suitable for substantial uses that would not infringe the claims of the '348 patent, namely
administering mifepristone "to control hyperglycemia secondary to hypercortisolism in adult
patients with endogenous Cushing's syndrome who have type 2 diabetes mellitus or glucose
intolerance and have failed surgery or are not candidates for surgery" without "testing the serum
levels of the patient to detennine whether the blood levels of mifepristone are greater than 1300
ng/mL; and adjusting the daily dose of the patient to achieve mifepristone blood levels greater
than 1300 ng/mL."
                 3.     Dependent Claims 2- 7
        Claims 2-7 depend directly or indirectly from claim 1. Teva's ANDA Product will not
infringe dependent claims 2-7, either literally or under the doctrine of equivalents, at least by
virtue of their dependence on claim 1. Wahpeton Canvas Co. v. Frontier, Inc., 870 F .2d, 1546,
1552 (Fed. Cir. 1989) ("It is axiomatic that dependent claims cannot be found to be infringed
unless the claims from which they depend have been found to have been infringed").

                 4.     Conclusions Regarding Non-Infringement

       Accordingly, for the reasons set forth above, Teva's ANDA Product will not infringe the
claims of the '348 patent, either literally or under the doctrine of equivalents.
VI.    FACTUAL AND LEGAL BASIS FOR TEVA'S CERTIFICATION FOR U.S. PATENT No.
       9,829,495

       A.        U.S. Patent No. 9,829,495 - "Methods for Differentially Diagnosing ACTH-
                 Dependent Cushing Syndrome"

       U.S. Patent No. 9,829,495 ("the '495 patent"), entitled "Methods for Differentially
Diagnosing ACTH-Dependent Cushing Syndrome," issued on November 28, 2017, from
Application Serial No. 15/236,015 ("the '015 application"), filed on August 12, 2016, which
claims the benefit of U.S. Provisional Application Serial No. 62/204,723, filed on August 13,
2015.

       The '495 patent issued with 18 claims of which claims 1 and 18 are independent.
Independent claims 1 and 18 recite:

       1.      A method of concurrently treating Cushing's syndrome and differentially
       diagnosing adrenocorticotropic hormone (ACTH)-dependent Cushing's syndrome
       in a patient where the differential diagnosis is between ectopic ACTH syndrome
       and Cushing's disease, the method comprising the steps of:
                 (i) selecting a patient with Cushing's syndrome and also elevated ACTH
       levels;


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                (ii) administering a dose of glucocorticoid receptor antagonist (GRA)
        sufficient to increase ACTH from the pituitary gland by at least two fold in
        persons with nonnal Hypothalamus Pituitary Adrenal (HP A) function;
               (iii) waiting for at least two hours; and,
                 (iv) obtaining from the patient an ACTH concentration ratio wherein the
        ratio is derived from the ACTH concentrations in fluid obtained from either the
        left or right inferior petrosal venous sinus and from fluid obtained from a
        periphery venous sample;
        wherein an ACTH concentration ratio of greater than 3 for the ACTH
        concentration from the inferior venous sinus sample over the periphery venous
        sinus sample is diagnostic of Cushing's disease.
       18.    A method of concurrently treating Cushing's syndrome and obtaining a
       measurement indicative of differential diagnosis of adrenocorticotropic hormone
       (ACTH)-dependent Cushing's syndrome in a patient where the differential
       diagnosis is between ectopic ACTH syndrome and Cushing's disease, the method
       comprising the steps of:
             determining the ACTH concentration ratio from a patient with Cushing's
       syndrome and an elevated ACTH level,
              where the patient has been administered a dose of glucocorticoid receptor
       antagonist (GRA) at least two hours prior to the removal of venous samples and
              where the amount of GRA administered to the patient is sufficient to
       increase ACTH from the pituitary gland by at least two fold in persons with
       normal Hypothalamus Pituitary Adrenal (HP A) function;
              wherein the ACTH concentration ratio is derived from the ACTH
       concentrations in fluid obtained from either the left or right inferior petrosal
       venous sinus and from fluid obtained from a periphery venous sample; and
               wherein an ACTH concentration ratio of greater than 3 for the ACTH
       concentration from the inferior venous sinus sample over the periphery venous
       sinus sample is indicative of Cushing's disease.

       Claims 2-17 depend directly or indirectly from claim 1 and further limit the periphery
venous sample or the glucocorticoid receptor antagonist.

       B.      Claim Construction

       For the purposes of this Detailed Statement only, the claims of the '495 patent are to be
accorded their ordinary and customary meanings to one of ordinary skill in the art as informed by
the specification and prosecution history.




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       C.      Non-Infringement Analysis

       Teva's ANDA Product will not infringe the claims of the '495 patent, either literally or
under the doctrine of equivalents.

              1.      No Literal Infringement

         Teva's ANDA Product will not directly infringe independent claims 1 and 18 of the '495
patent because Teva's ANDA Product will not meet each and every limitation of these claims.
An accused product or process literally infringes a claim only if it possesses each and every
limitation of the claim. If an accused product or process lacks even one claim element, it does
not literally infringe the claim. Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc., 424
F.3d 1293, 1310 (Fed. Cir. 2005); Pennwalt Corp. v. Durand-Wayland, Inc., 833 F.2d 931, 935
(Fed. Cir. 1987) ("each element of a claim is material and essential, and that in order for a court
to find infringement, the plaintiff must show the presence of every element or its substantial
equivalent in the accused device" (quoting Lemelson v. United States, 752 F.2d 1538, 1551 (Fed.
Cir. 1985)); and Novartis Pharms. Co,p. v. Eon Labs Mfg., Inc., 363 F.3d 1306, 1312 (Fed. Cir.
2004) ("[t]he doctrine of equivalents is not a license to ignore claim limitations" (citing Dolly,
Inc. v. Spalding & Evenflo Cos., Inc., 16 F.3d 394, 398 (Fed. Cir. 1994)).

      Independent claim 1 is directed to a "method of concurrently treating Cushing's
syndrome and differentially diagnosing adrenocorticotropic hormone (ACTH)-dependent
Cushing's syndrome in a patient where the differential diagnosis is between ectopic ACTH
syndrome and Cushing's disease." The method requires the steps of:

       (i) selecting a patient with Cushing's syndrome and also elevated ACTH levels;
       (ii) administering a dose of glucocorticoid receptor antagonist (GRA) sufficient to
       increase ACTH from the pituitary gland by at least two fold in persons with
       normal Hypothalamus Pituitary Adrenal (HP A) function;
       (iii) waiting for at least two hours; and,
       (iv) obtaining from the patient an ACTH concentration ratio wherein the ratio is
       derived from the ACTH concentrations in fluid obtained from either the left or
       right inferior petrosal venous sinus and from fluid obtained from a periphery
       venous sample.

        Independent claim 18 is directed to a "method of concurrently treating Cushing's
syndrome and obtaining a measurement indicative of differential diagnosis of
adrenocorticotropic hormone (ACTH)-dependent Cushing's syndrome in a patient where the
differential diagnosis is between ectopic ACTH syndrome and Cushing's disease." The method
requires the steps of:

       determining the ACTH concentration ratio from a patient with Cushing's
       syndrome and an elevated ACTH level,
              where the patient has been administered a dose of glucocorticoid receptor
       antagonist (GRA) at least two hours prior to the removal of venous samples and
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               where the amount of GRA administered to the patient is sufficient to
        increase ACTH from the pituitary gland by at least two fold in persons with
        normal Hypothalamus Pituitary Adrenal (HP A) function;
               wherein the ACTH concentration ratio is derived from the ACTH
        concentrations in fluid obtained from either the left or right inferior petrosal
        venous sinus and from fluid obtained from a periphery venous sample; and
                wherein an ACTH concentration ratio of greater than 3 for the ACTH
        concentration from the inferior venous sinus sample over the periphery venous
        sinus sample is indicative of Cushing's disease.

        Teva's ANDA Product will not directly infringe claim 1 - either literally or under the
doctrine of equivalents - Teva will not meet the limitations of "selecting a patient," much less a
patient with Cushing's syndrome and elevated ACTH levels; Teva will not "administer[] a
glucocorticoid receptor antagonist;" or wait for at least two hours and then "obtain[] from the
patient an ACTH concentration ratio." Teva will not perform these steps because it will not
diagnose patients taking Teva's ANDA Product. If an accused product or process lacks even one
claim element, it does not literally infringe the claim. Cross Med. Prods., 424 F .3d at 131 O;
Pennwalt Corp., 833 F.2d at 935; and Novartis Pharms. Corp., 363 F.3d at 1312. Because Teva
does not perform any of these steps, Teva will not directly infringe claim 1.

        Similarly, Teva will not directly infringe independent claim 18 - either literally or under
the doctrine of equivalents - because Teva will not meet the limitation of "determining the
ACTH concentration ratio from a patient with Cushing's syndrome and an elevated ACTH
level." Teva will not perform this step because it does not and will not diagnose patients. If an
accused product or process lacks even one claim element, it does not literally infringe the claim.
Cross Med. Prods., 424 F.3d at 1310; Pennwalt Corp., 833 F.2d at 935; and Novartis Pharms.
Corp., 363 F.3d at 1312. Because Teva does not perform the step of "determining the ACTH
concentration ratio," Teva will not directly infringe independent claim 18.

        Furthermore, because Teva through its ANDA will not treat Cushing's syndrome and
differentially diagnose (or obtain a measurement indicative of) adrenocorticotropic hormone
(ACTH)-dependent Cushing's syndrome in patients, Teva through its ANDA will not infringe
independent claims 1 and 18 of the '495 patent under the doctrine of equivalents. The doctrine
of equivalents does not allow a claim limitation to be ignored. Pennwalt Corp. v. Durand-
Wayland, Inc., 833 F.2d 931, 935 (Fed. Cir. 1987); see also Novartis Pharms. Corp. v. Eon Labs
Mfg., Inc., 363 F.3d 1306, 1312 (Fed. Cir. 2004). Because Teva through its ANDA will not treat
Cushing's syndrome and differentially diagnose (or obtain a measurement indicative of)
adrenocorticotropic hormone (ACTH)-dependent Cushing's syndrome in patients, Teva will not,
directly infringe independent claims 1 and 18 of the '495 patent, either literally or under the
doctrine of equivalents.

       Accordingly, Teva will not directly infringe claim 1-18 of the '495 patent, either literally
or under the doctrine of equivalents.



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                           1. No Inducement of Infringement

        The proposed labeling for Teva's ANDA Product will not induce infringement of the
claims of the '495 patent because the proposed labeling will not direct a person to "differentially
diagnos[e] adrenocorticotropic honnone (ACTH)-dependent Cushing's syndrome in a patient
where the differential diagnosis is between ectopic ACTH syndrome and Cushing's disease"
(claims 1-17) or to "obtain[] a measurement indicative of differential diagnosis of
adrenocorticotropic hormone (ACTH)-dependent Cushing's syndrome in a patient where the
differential diagnosis is between ectopic ACTH syndrome and Cushing' s disease" (claim 18).
There are no instructions in the proposed labeling for Teva's ANDA Product directing that
mifepristone should be, or even could be, used to differentially diagnose adrenocorticotropic
hormone (ACTH)-dependent Cushing's syndrome in a patient where the differential diagnosis is
between ectopic ACTH syndrome and Cushing's disease, or, for that matter, used in any
diagnostic method.

        Labeling that merely directs a person to administer Teva's ANDA Product "to control
hyperglycemia secondary to hypercortisolism in adult patients with endogenous Cushing's
syndrome who have type 2 diabetes mellitus or glucose intolerance and have failed surgery or
are not candidates for surgery"does not induce infringement of a method claim that involves
administration of a glucocorticoid receptor antagonist to differentially diagnose
adrenocorticotropic hormone (ACTH)-dependent Cushing's syndrome in a patient where the
differential diagnosis is between ectopic ACTH syndrome and Cushing's disease. See Warner-
Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1364 (Fed. Cir. 2003); see also Bayer Schering
Pharma AG v. Lupin, Ltd., 676 F.3d 1316 (Fed. Cir. 2012). Thus, the proposed labeling for
Teva's ANDA Product would not induce infringement of the claims of the '495 patent.

        Furthermore, the proposed labeling for Teva's ANDA Product would not induce
infringement of claims 8-1 7 of the '495 patent for the additional reason that claims 8-17 of the
 '495 patent require administering a glucocorticoid receptor antagonist falling within a genus of
structures or having an expressly recited structure and the proposed labeling for Teva's ANDA
Product does not instruct to administer a glucocorticoid receptor antagonist having a structure
encompassed by these claims. Moreover, mifepristone is substantially different from, and,
therefore, not equivalent to the glucocorticoid receptor antagonists of claims 8-17. Abbott Labs.
v. Novopharm Ltd., 323 F.3d 1324, 1329 (Fed. Cir. 2003) and AquaTex Indus., Inc. v. Techniche
Solutions, 479 F.3d 1320, 1326 (Fed. Cir. 2007) (citing Graver Tank & Mfg. Co. v. Linde Air
Products Co., 339 U.S. 605, 608 (1950)). In particular, mifepristone has a different chemical
formula and structure, and, thus, different chemical properties, from the genus of glucocorticoid
receptor antagonists recited in claims 8-17. By separately claiming a method wherein
mifepristone is the glucocorticoid receptor antagonist (e.g., claim 7), Patentees of the '495
implicitly acknowledge that mifepristone is substantially different from the glucocorticoid
receptor antagonist encompassed by claims 8-17. Labeling that directs a person to administer a
glucocorticoid receptor antagonist having a structure that is different from the structure expressly
recited in a claim does not induce infringement of a method of treatment claim that requires
administering a glucocorticoid receptor antagonist having an expressly recited structure. See
Warner-Lambert Co., 316 F.3d at 1364; Bayer Schering Pharma AG, 676 F.3d at 1316.

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        Accordingly, the proposed labeling for Teva' s ANDA Product would not induce
infringement of the claims of the '495 patent.

                          2. No Contributory Infringement

        Teva will not be liable for contributory infringement of the claims of the '495 patent
because the Teva's ANDA Product would be a staple article of commerce clearly suitable for
substantial uses that would not infringe the claims of the '495 patent, namely "to control
hyperglycemia secondary to hypercortisolism in adult patients with endogenous Cushing's
syndrome who have type 2 diabetes mellitus or glucose intolerance and have failed surgery or
are not candidates for surgery."

                          3. Dependent Claims 2-17

        Claims 2-17 depend directly or indirectly from claim 1. Teva will not directly infringe
dependent claims 2-17 of the '495 patent, either literally or under the doctrine of equivalents, at
least by virtue of their dependence on independent claim 1. Wahpeton Canvas Co. v. Frontier,
Inc., 870 F.2d 1546, 1552 (Fed. Cir. 1989) ("It is axiomatic that dependent claims cannot be
found infringed unless the claims from which they depend have been found to have been
infringed").

                          4. Conclusions Regarding Non-Infringement

       Accordingly, for the reasons set forth above, Teva's ANDA Product will not infringe the
claims of the '495 patent, either literally or under the doctrine of equivalents.

VII.   CONCLUSION

       For the reasons discussed herein, each and every claim of U.S. Patent Nos. 8,921,348 and
9,829,495 are invalid, unenforceable and/or will not be infringed by the commercial
manufacture, use or sale of Mifepristone Tablets, 300 mg product described in Teva's ANDA
No. 211436.

       As such, there is no reasonable basis upon which Corcept Therapeutics, Inc., as the
apparent holder(s) of approved New Drug Application No. 202107 for KORLYM®
(mifepristone) tablets 300 mg, and as the apparent record owner(s) of U.S. Patent Nos. 8,921,348
and 9,829,495, can institute suit against Teva for filing of its ANDA No. 211436, as the
information provided herein makes clear.

       Teva expressly reserves the right to develop and make other arguments and assert any
defenses relating to non-infringement, invalidity and/or unenforceability of any or all of the
claims of U.S. Patent Nos. 8,921,348 and 9,829,495.




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